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 8
                           UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10
11   CLEVELAND CONSTANTINE             Case No.:
12   BROWNE, an individual; THE ESTATE COMPLAINT FOR:
     OF WYCLIFFE JOHNSON; and STEELY
13   & CLEVIE PRODUCTIONS LTD.,          1. COPYRIGHT INFRINGEMENT
14   Plaintiffs,                         2. VICARIOUS AND/OR
                                             CONTRIBUTORY
15   v.                                      COPYRIGHT INFRINGEMENT
16
     RODNEY SEBASTIAN CLARK                        JURY TRIAL DEMANDED
17   DONALDS, an individual; CAROLINA
18   GIRALDO NAVARRO, an individual;
     ARMANDO CHRISTIAN PÉREZ, an
19   individual; BILAL HAJJI, an individual;
20   JOSE CARLOS GARCIA, an individual;
     BURNA AL, an individual; JORGE
21   GOMEZ, an individual; GIORDANO
22   ASHRUF, an individual; SHAREEF
     BADLOE, an individual; RASHID
23   BADLOE, an individual; JUSTON
24   RECORDS, a French private limited
     company; SONY MUSIC
25   ENTERTAINMENT, a Delaware General
26   Partnership d/b/a ULTRA MUSIC,
     Defendants.
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 1         Plaintiffs Cleveland Constantine Browne, the Estate of Wycliffe Johnson, and
 2 Steely & Clevie Productions Ltd., by and through their undersigned attorneys, hereby
 3 pray to this honorable Court for relief based on the following:
 4                                   Jurisdiction & Venue
 5         1.    This action arises under the Copyright Act of 1976, 17 U.S.C. §§ 101, et
 6 seq.
 7         2.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,
 8 1338(a) and (b), & 1367(a).
 9         3.    Venue in this judicial district is proper under 28 U.S.C. § 1391 (c) and §
10 1400(a).
11                                           Parties
12         4.    At all times mentioned herein, Plaintiff Cleveland Constantine Browne
13 was and is an individual residing in Kingston, Jamaica.
14         5.    At all times mentioned herein, Plaintiff the Estate of Wycliffe Johnson
15 was and is the successor in interest to the intellectual property rights of Mr. Johnson.
16         6.    At all times mentioned herein, Plaintiff Steely & Clevie Productions Ltd.
17 was and is a limited company organized and existing under the laws of Jamaica.
18         7.    At all times mentioned herein Defendant Rodney Sebastian Clark
19 Donalds p/k/a El Chombo (“El Chombo”) was an individual residing in Panama and
20 doing business in and with the state of California, including in this judicial district.
21         8.    At all times mentioned herein Carolina Giraldo Navarro p/k/a Karol G
22 (“Karol G”) was an individual residing in Medellin, Colombia and doing business in
23 and with the state of California, including in this judicial district.
24         9.    At all times mentioned herein Defendant Armando Christian Pérez p/k/a
25 Pitbull (“Pitbull”) was an individual residing in Miami, Florida and doing business in
26 and with the state of California, including in this judicial district.
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 1         10.    At all times mentioned herein Defendant Bilal Hajji was an individual
 2 residing in Sweden and doing business in and with the state of California, including
 3 in this judicial district.
 4         11.    At all times mentioned herein Defendant Jose Carlos Garcia was an
 5 individual residing in Miami, Florida and doing business in and with the state of
 6 California, including in this judicial district.
 7         12.    At all times mentioned herein Defendant Burna Al was an individual
 8 residing in Miami, Florida and doing business in and with the state of California,
 9 including in this judicial district.
10         13.    At all times mentioned herein Defendant Jorge Gomez was an individual
11 residing in Miami, Florida and doing business in and with the state of California,
12 including in this judicial district.
13         14.    At all times mentioned herein Defendant Giordano Ashruf was an
14 individual residing in Arnhem, Netherlands and doing business in and with the state
15 of California, including in this judicial district.
16         15.    At all times mentioned herein Defendant Shareef Badloe was an
17 individual residing in Arnhem, Netherlands and doing business in and with the state
18 of California, including in this judicial district.
19         16.    At all times mentioned herein Defendant Rashid Badloe was an
20 individual residing in Arnhem, Netherlands and doing business in and with the state
21 of California, including in this judicial district.
22         17.    At all times mentioned herein Defendants Giordano Ashruf, Shareef
23 Badloe and Rashid Badloe collectively p/k/a Afro Bros (“Afro Bros”) was a DJ and
24 record production entity from Arnhem, Netherlands and doing business in and with
25 the state of California, including in this judicial district.
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 1         18.    At all times mentioned herein Defendant Juston Records, individually
 2 (collectively “Juston”) was a French private limited company and doing business in
 3 and with the state of California, including in this judicial district.
 4         19.    At all times mentioned herein Sony Music Entertainment, individually
 5 and doing business as “Ultra Music” (collectively “Sony”) was an American record
 6 label/music industry conglomerate and a Delaware General Partnership with offices
 7 in Santa Monica, California.
 8         20.    Defendants Does 1 through 10, inclusive, are other parties not yet
 9 identified who have infringed Plaintiffs’ copyrights, have contributed to the
10 infringement of Plaintiffs’ copyrights, or have engaged in one or more of the
11 wrongful practices alleged herein. The true names, whether corporate, individual or
12 otherwise, of Defendants 1 through 10, inclusive, are presently unknown to Plaintiff,
13 which therefore sue said Defendants by such fictitious names, and will seek leave to
14 amend this Complaint to show their true names and capacities when same have been
15 ascertained.
16         21.    Plaintiffs are informed and believes and thereon alleges that at all times
17 relevant hereto each of the Defendants was the agent, affiliate, officer, director,
18 manager, principal, alter-ego, and/or employee of the remaining Defendants and was
19 at all times acting within the scope of such agency, affiliation, alter-ego relationship
20 and/or employment; and actively participated in or subsequently ratified and adopted,
21 or both, each and all of the acts or conduct alleged, with full knowledge of all the
22 facts and circumstances, including, but not limited to, full knowledge of each and
23 every violation of Plaintiffs’ rights and the damages to Plaintiffs proximately caused
24 thereby.
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 1                                  Factual Background
 2        22.    Plaintiff Cleveland Constantine Browne, p/k/a Clevie, is a world-
 3 renowned influential and innovative composer, musician and producer known for,
 4 inter alia, pioneering the use of drum machines in reggae.
 5        23.    Wycliffe Anthony Johnson, p/k/a Steely, was a visionary and innovative
 6 composer, musician and producer.
 7        24.    Together, Mr. Browne and Mr. Johnson formed the writing, musical and
 8 producing duo Steely & Clevie, and worked on numerous genre-defining projects.
 9 Our clients worked with such artists as reggae legends Bob Marley, Bunny Wailer,
10 Jimmy Cliff, Gregory Isaacs, Ziggy Marley and Lee Scratch Perry.
11        25.    Plaintiff the Estate of Wycliffe Johnson is the successor-in-interest to
12 Mr. Johnson’s intellectual property rights.
13        26.    Plaintiff Steely & Clevie Productions Ltd. is the production company of
14 Mr. Browne and Mr. Johnson.
15        27.    In 1989 Mr. Browne and Mr. Johnson wrote and recorded the
16 instrumental song entitled Fish Market (the “Song”). The recording and composition
17 for the Song are registered with the United States Copyright Office.
18        28.    Fish Market is an original work including an original drum pattern that
19 gives it a unique sound as compared to prior works. The combination of instruments
20 in Fish Market includes a drumset incorporating kick, snare, and hi hat. These
21 instruments are playing a one bar pattern. Fish Market also includes percussion
22 instruments – tambourine and synthesizer ‘tom’- playing a one bar pattern. A timbale
23 phrase occurs at the end of every second bar. Timbales also play a free improvisation
24 over the pattern for the duration of the song.
25        29.    Fish Market forms the basis for a number of popular songs within the
26 global reggae dancehall scene recorded with established vocalists, such as Gregory
27 Peck, Red Dragon, Johnny P and Shabba Ranks.
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 1         30.   In 1990, Mr. Browne and Mr. Johnson created the song entitled Dem
 2 Bow with Shabba Ranks. Dem Bow was a massive club hit and garnered worldwide
 3 acclaim in the international reggae dancehall scene. Dem Bow’s instrumental (which
 4 is an alternative mix of Fish Market, based on the same multi-track recording) is
 5 iconic and has been acknowledged as foundational to reggaeton music.
 6         31.   On April 2, 2018, Sony and Juston released the single Dame tu Cosita
 7 by El Chombo.
 8         32.   In or about August 2018, Sony and Juston released an alternative mix of
 9 Dame tu Cosita by El Chombo, Pitbull and Karol G.
10         33.   Both recordings of Dame tu Cosita (hereinafter the “Infringing Works”)
11 were hit songs garnering millions (if not billions) of plays and streams around the
12 world resulting in significant revenue and profits to Defendants.
13         34.   The Infringing Works consist of rhythmic speech, drums and percussion.
14 The primary rhythm and drum sections of the Infringing Works are comprised of an
15 unauthorized sample and/or a verbatim copy of elements from the Song.
16         35.   The composition of each of the Infringing Works substantially
17 comprises the composition of Fish Market. The drum pattern of the Infringing Works
18 is the drum pattern of Fish Market. Two versions of the drum pattern are played. The
19 first is one with a ‘stop’, that is, cut on the 3rd beat and silence on the 4th beat. The
20 second is similar to the first but with a continuous beat (i.e., with no stop). As in Fish
21 Market, the low drum or bass sound in the rhythm track of each of the Infringing
22 Works that plays on beats 1 and 3, is pitched at a flat (or low) Bb. The main riffs of
23 Fish Market are played in the Infringing Works. These include the kick and snare
24 pattern, the reinforcing of beats 1 and 3 on a low-pitched drum, and the sixteenth
25 notes on the ‘and’ of beat 1 from a snare sound. The kick and snare drums are
26 prominent in the mix of each of the Infringing Works as is the case in Fish Market.
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 1        36.     A sample of audio from the recording of Fish Market is prominently
 2 incorporated throughout both mixes of the Infringing Works. Particularly, percussive
 3 elements mixed in the background of the Infringing Works correspond to the pattern
 4 and frequency bandwidth of sounds in Fish Market. These include the timbales and
 5 tambourine which are identifiable and notable key components in the Song.
 6        37.     At no point did Defendants seek or obtain authorization from Plaintiffs
 7 to use Fish Market in connection with the Infringing Works.
 8        38.     Defendants continue to exploit and receive monies from the Infringing
 9 Works, respectively, in violation of Plaintiffs’ rights in their Song. Defendants’
10 wrongful copying and/or exploitation of Plaintiffs’ copyrighted material has also
11 allowed for further infringement abroad.
12                                   First Claim for Relief
13              (For Copyright Infringement—Against all Defendants, and Each)
14        39.     Plaintiffs repeat, re-allege, and incorporate by reference all preceding
15 paragraphs of this Complaint.
16        40.     Plaintiffs are the sole and exclusive owners of the Song.
17        41.     The Song is registered with the U.S. Copyright Office.
18        42.     The Song is an original composition and recording.
19        43.     Defendants had access to the Song because the Song was widely
20 distributed throughout the world since 1989 on vinyl and CD. Defendants also had
21 access to the Song through distribution of Dem Bow on vinyl and CD which was a
22 worldwide hit within the global reggae dancehall scene and remains a reggae
23 dancehall classic. Both the Song and Dem Bow were widely distributed on vinyl and
24 CD, which were the dominant media formats at the time of release, and together sold
25 tens of thousands copies on singles and albums within the global reggae dancehall
26 scene. Both the Song and Dem Bow are also available on streaming platforms,
27 including Spotify, Apple Music, Amazon, Pandora, and YouTube.
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 1         44.   In addition, Defendants’ “sampling” (direct extraction and reproduction
 2 of the Song) establishes access by way of striking similarity, if not virtual identity.
 3         45.   Defendants, and each of them, infringed Plaintiffs’ rights in the Song by
 4 sampling the recording of the Song and reproducing it in one or both of the Infringing
 5 Works without Plaintiffs’ authorization or consent.
 6         46.   Alternatively, Defendants, and each of them, infringed Plaintiffs’ rights
 7 by making a direct copy of the composition of the Song and using that copy in one or
 8 both of the Infringing Works without Plaintiffs’ authorization or consent.
 9         47.   Defendants, and each of them, have engaged and continue to engage in
10 the unauthorized reproduction, distribution, public performance, licensing, display,
11 and creation of one or both of the Infringing Works. The foregoing acts infringe
12 Plaintiffs’ rights under the Copyright Act. Such exploitation includes, without
13 limitation, Defendants’, and each of them, distributing and broadcasting the
14 Infringing Works on streaming platforms, including Spotify, Apple Music, Amazon,
15 Pandora, and YouTube.
16         48.   Due to Defendants’, and each of their, acts of infringement, Plaintiffs’
17 have suffered actual, general and special damages in an amount to be established at
18 trial, including but not limited a reasonable license fee for Defendants’ use of the
19 sample.
20         49.   Due to Defendants’ acts of copyright infringement as alleged herein,
21 Defendants, and each of them, have obtained direct and indirect profits they would
22 not otherwise have realized but for their infringement of Plaintiffs’ rights in
23 Plaintiffs’ copyrighted sound recordings. As such, Plaintiffs are entitled to
24 disgorgement of Defendants’ profits directly and indirectly attributable to
25 Defendants’ infringements of their rights in the sound recordings in an amount to be
26 established at trial.
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 1        50.    Plaintiffs are informed and believe and now allege that Defendants, and
 2 each of their, conduct as alleged herein was willful, reckless, and/or with knowledge,
 3 subjecting Defendants, and each of them, to enhanced statutory damages, claims for
 4 costs and attorneys’ fees, and/or a preclusion from deducting certain costs when
 5 calculating disgorgeable profits.
 6                                 Second Claim for Relief
 7 (For Vicarious and/or Contributory Copyright Infringement—Against all Defendants,
 8                                        and Each)
 9        51.    Plaintiffs repeat, re-allege, and incorporate by reference all preceding
10 paragraphs of this Complaint.
11        52.    Plaintiffs are informed and believe and now allege that Defendants
12 knowingly induced, participated in, aided and abetted in and profited from the illegal
13 reproduction, distribution, and publication of one or both of the Infringing Works as
14 alleged above. Specifically, the producers (including Sony and Juston) underwrote,
15 facilitated, and participated in the El Chombo, Pitbull and Karol G’s respective illegal
16 copying during the creation of the Infringing Works Defendants, and each of them,
17 realized profits through their respective obtainment, distribution, and publication of
18 the Infringing Works.
19        53.    Plaintiffs are informed and believe and now allege that Defendants, and
20 each of them, are vicariously liable for the infringement alleged herein because they
21 had the right and ability to supervise the infringing conduct and because they had a
22 direct financial interest in the infringing conduct. Specifically, each Defendant in the
23 involved in the infringement had the ability to oversee the publication and
24 distribution of one or both of the Infringing Works. And, Defendants, and each of
25 them, realized profits through their respective obtainment, distribution, and
26 publication of one or both of the Infringing Works.
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  1        54.      By reason of Defendants’, and each of their, acts of contributory and
  2 vicarious infringement as alleged above, Plaintiffs have suffered and will continue to
  3 suffer substantial damages in an amount to be established at trial, as well as
  4 additional actual, general and special damages in an amount to be established at trial.
  5        55.      Due to Defendants’ acts of copyright infringement as alleged herein,
  6 Defendants, and each of them, have obtained direct and indirect profits they would
  7 not otherwise have realized but for their infringement of Plaintiffs’ rights. As such,
  8 Plaintiffs are entitled to disgorgement of Defendants’ profits directly and indirectly
  9 attributable to Defendants’ infringement of Plaintiffs’ rights in their copyrighted
 10 sound recordings in an amount to be established at trial.
 11        56.      Plaintiffs are informed and believe and now allege that Defendants, and
 12 each of their, conduct as alleged herein was willful, reckless, and/or with knowledge,
 13 subjecting Defendants, and each of them, to enhanced statutory damages, claims for
 14 costs and attorneys’ fees, and/or a preclusion from deducting certain costs when
 15 calculating disgorgeable profits.
 16                                       Prayer for Relief
 17                                   (Against All Defendants)
 18 With Respect to Each Claim for Relief, Plaintiffs demand judgment against
 19 Defendants as follows:
 20        a. That Defendants, their affiliates, agents, and employees be enjoined from
 21              infringing Plaintiffs’ copyrights in and to Plaintiffs’ copyrighted sound
 22              recordings;
 23        b. Granting an injunction permanently restraining and enjoining Defendants,
 24              their officers, agents, employees, and attorneys, and all those persons or
 25              entities in active concert or participation with them, or any of them, from
 26              further infringing Plaintiff’s copyrights in and to Plaintiffs’ copyrighted
 27              sound recordings;
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  1        c. For a constructive trust to be entered over any recordings, videos
  2            reproductions, files, online programs, and other material in connection with
  3            “Pray for Me,” and all revenues resulting from the exploitation of same, for
  4            the benefit of Plaintiffs;
  5        d. That Plaintiffs be awarded all profits of Defendants, and each, plus all
  6            losses of Plaintiff, plus any other monetary advantage gained by the
  7            Defendants through their infringement, the exact sum to be proven at the
  8            time of trial;
  9        e. That Defendants pay damages equal to Plaintiffs’ actual damages and lost
 10            profits;
 11        f. That Plaintiffs be awarded statutory damages and attorneys’ fees as
 12            available under 17 U.S.C. § 505 or other statutory or common law;
 13        g. That Plaintiffs be awarded pre-judgment interest as allowed by law;
 14        h. That Plaintiffs be awarded the costs of this action; and
 15        i. That Plaintiffs be awarded such further legal and equitable relief as the
 16          Court deems proper.
 17       Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
    38 and the 7th Amendment to the United States Constitution.
 18
 19                                                    Respectfully submitted,
 20
 21 Dated: April 1, 2021                    By:        /s/ Scott Alan Burroughs
                                                       Scott Alan Burroughs, Esq.
 22
                                                       David Shein, Esq.
 23                                                    Frank Trechsel, Esq.
                                                       DONIGER / BURROUGHS
 24
                                                       Attorneys for Plaintiffs
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                                              COMPLAINT
